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           IN THE UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF VIRGINIA

                         Alexandria Division


UNITED STATES OF AMERICA,            )
                                     )
           v.                        )      1:15cr301 (JCC)
                                     )
MICHAEL HENDERSON,                   )
                                     )
     Defendant.                      )

                   M E M O R A N D U M       O P I N I O N

           This matter comes before the Court on Defendant

Michael Henderson’s (“Defendant”) Motion to Join Specific

Motions Previously Filed by Co-Defendant Jen Seko.           [Dkt. 380.]

In this motion, Defendant seeks to join and fully adopt the

motions and memoranda in support of Jen Seko’s original three

discovery motions: (1) Motion for Clarification of Discovery;

(2) Request for Exhibit List Production 45 Days Prior to Trial;

and (3) Request for Clarification of Discovery Order to Permit

Ms. Seko to Review Discovery.       (Def. Mot. at 1.)     Defendant

places particular emphasis on Ms. Seko’s third motion.           (Id.)

           For the following reasons, the Court will deny

Defendant’s motion for a more particularized discovery log.            In

line with Ms. Seko, the Court will allow the parties to exchange

exhibit lists fourteen (14) days prior to trial.          Finally, the

Court will grant Defendant’s motion to retain copies of certain

witness interview reports.

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                             I.     Background

           Michael Henderson is charged along with four other co-

defendants with one count of conspiracy to commit mail fraud and

wire fraud, five substantive counts of wire fraud, and five

substantive counts of mail fraud.         [Dkt. 254.]   These charges

arise out of an alleged nationwide “mortgage modification” fraud

scheme that targeted homeowners.          Mr. Henderson in particular is

charged with serving as the signatory for various bank accounts

used to deposit payments from homeowners targeted by the scheme,

as well as serving as a “customer service representative” in the

scheme.   [Dkt. 254, ¶ 5.]     Trial is scheduled to begin on

February 13, 2017.

           To date, the Government has provided Defendant’s

counsel with four indices.        On September 28, 2016, the

Government provided the first index, or discovery log, which

“consisted of a 14-page spreadsheet broken down into

approximately 640 rows by beginning and ending bates numbers,

specifying the general category of record for each document or

range of documents and the specific custodian from which the

records were received, and further providing additional

descriptive detail about certain records as appropriate.”            [Dkt.

369 at 10-11.]    On October 18, 2016, the Government emailed

Defendant’s counsel to notify him that an additional production

of materials was ready and attached three additional indices.

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(Gov. Mem. in Opp. at 4.)      The new indices included: (1) a

supplemental discovery log of the bates-stamped materials, in

the same format as the prior log provided on September 28, 2016;

(2) a supplemental index of the electronic data seized during

the execution of search warrants; and (3) an index summarizing

the hard-copy evidence that was seized during searches and has

been made available for defense counsel’s review.          (Id.)

                         II.   Standard of Review

           Federal Rule of Criminal Procedure 16 states that “the

government must provide to the defendant” a list of items prior

to trial, including: (1) defendant’s oral statements; (2)

defendant’s written or recorded statements; (3) defendant’s

prior criminal record; (4) any documents or objects that may be

material to the defense, may be used in the Government’s case-

in-chief, or may belong to the defendant; (5) the results of any

examinations and tests that the Government has in its possession

or knows exist and that may be material to the defense; and (6)

a written summary of potential testimony from expert witnesses.

See Fed. R. Crim. P. 16(a)(1)(A)-(G).        It also makes clear that

“[a]t any time the court may, for good cause, deny, restrict, or

defer discovery or inspection, or grant other appropriate

relief.”   Id. 16(d)(1).     The rule does not apply to the

discovery of statements made by prospective Government



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witnesses.   Id. 16(a)(2).     Such statements are more properly

governed by the Jencks Act, 18 U.S.C. § 3500.          Id.

           The Jencks Act requires the production of the

Government’s witnesses’ statements after each witness has

testified at trial.     See 18 U.S.C. § 3500(a) (“[N]o statement or

report . . . shall be the subject of subpoena, discovery, or

inspection until said witness has testified on direct

examination in the trial of the case.”).          This prohibition is

meant to ensure witness safety, including witnesses who are

alleged co-conspirators.      United States v. Beckford, 962 F.

Supp. 780, 787 (E.D. Va. 1997) (citing Roberts, 811 F.2d at

259).    Thus, “a district court may not order the disclosure of

Jencks material earlier than provided by statute.”            Id.

                               III. Analysis

           Defendant adopts and incorporates Ms. Seko’s arguments

for his own discovery motions.       (Def. Mot. at 1.)       The Court

will now address each motion in turn.

           A.     Motion for a More Particularized Discovery Log

           Defendant first argues that a more particularized

discovery log is necessary because the discovery involves “an

unknown number of documents” which “likely number millions of

printed pages.”    [Dkt. 364, ¶ 4.]      Defendant claims that the

first index the Government provided was not sufficiently

detailed to be helpful.      [Id., ¶¶ 7-8.]     Absent a helpful index,

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Defendant’s counsel claims that he could not possibly read all

of the materials before trial.        [See, e.g., id., ¶ 14.] 1      In

other words, Defendant’s counsel argues that he cannot render

effective assistance to his client.

            The Government disputes Defendant’s characterization

of the discovery and argues that it has fully and diligently

complied with its discovery obligations in this case.             (Gov.

Mem. in Opp. [Dkt. 369] at 12.]        As proof of this assertion, the

Government points out that it has provided the discovery in

“multiple searchable formats with accompanying indices.”              (Id.

at 14.)   It has also provided an index with more than 600

entries that identifies the bates range, type of custodian, and

the specific custodian.       (Id. at 15.)     Furthermore, after the

filing of Defendant Seko’s motion, the Government made it

possible for this index to serve as an “overlay” onto the

electronically searchable database.         (Id.)    As for the computer

and cell phone images, the Government provided these images in

the same electronic format that the Government has them, sending

forensic reports for the four most sophisticated cell phones and

offering to create and disseminate reports for three more.                 (Id.

at 16.)   Finally, the Government provided a detailed index to

describe the limited hard-copy discovery materials, which



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  After receiving three additional indices from the Government, Ms. Seko
withdrew this motion. [Dkt. 372.]

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includes “62 line-item entries . . . as well as the dates and

locations from which they were seized.”         (Id. at 18.)    Given the

myriad ways in which the Government has sought to help defense

counsel access this discovery, the Government believes it has

far exceeded its obligations.       The Court agrees.

           Defendant has cited no legal authority for the

proposition that the Government must provide a meaningful index.

In fact, Rule 16 “is entirely silent on the issue of the form

that discovery must take; it contains no indication that

documents must be organized or indexed.”         United States v.

Warshak, 631 F.3d 266, 296 (6th Cir. 2010).         Nevertheless, the

Government has provided four different indices in an attempt to

help Defendant sort through the voluminous discovery.           The

Government has also clarified points of confusion and will

continue to do so.     Furthermore, it has provided the documents

in multiple searchable formats.       Given the Government’s efforts

in this case, the Court finds that the Government has complied

with its discovery obligations.       Accordingly, the Court denies

Defendant’s motion.

           B.    Motion to Exchange Exhibit Lists 45 Days Before

                 Trial

           Through incorporation, Defendant also requests that

exhibit lists be exchanged 45 days prior to trial.           [Dkt. 364 at

7.]   Absent a meaningful index, Defendant argues that an exhibit

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list is the only way to sort through the voluminous discovery

and prepare for trial.      [Id., ¶ 26.] 2

            The Government argues that there is no legal authority

supporting Defendant’s request for an exhibit list 45 days in

advance.    (Gov. Mem. in Opp. [Dkt. 369] at 20.)         It claims that

the purpose of an exhibit list is not to guide Defendant’s

review of discovery, but to ensure that the trial runs smoothly.

(Id.)   Nevertheless, the Government has agreed to provide

Defendant with a draft exhibit list no later than 14 days before

trial, assuming that Mr. Henderson agrees to do the same.              (Id.

at 21.)

            The Government is correct that there is no Fourth

Circuit precedent that directly addresses a defendant’s request

for an exhibit list approximately six weeks before trial.              The

Fourth Circuit has clarified, however, that “Rule 16 does not

require the prosecution to disclose all the minutia [sic] of its

evidence, to reveal its trial strategy, and to delineate with

total specificity the case it intends to present.”            United

States v. Anderson, 481 F.2d 685, 694 (4th Cir. 1973) (internal

citations and quotations omitted).         Rather, “[w]hether to order

the disclosure of an exhibit list . . . lies within the sound

discretion of the court.”       See Anderson, 481 F.2d at 693.


2
 After receiving three additional indices from the Government, Ms. Seko later
withdrew this motion and agreed to exchange exhibit lists 14 days prior to
trial. [Dkt. 372.]

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            In the instant case, Defendant’s motion sounds

strikingly similar to a request that the Government “disclose

all the minutia of its evidence” against him.          Given that the

Government has now provided Defendant with four indices,

Defendant has failed to show why the receipt of an exhibit list

45 days prior to trial would be both material to the preparation

of his defense and reasonable in light of the circumstances.

Accordingly, the Court denies Defendant’s motion.          The Defendant

may still agree, however, to exchange exhibit lists with the

Government 14 days prior to trial.

            C.   Motion for Copies of Certain Witness Reports

             Defendant’s final request is that he be allowed to

retain copies of certain witness interview reports.           [Dkt. 364

at 8.]    The Court presumes for the purposes of this motion that

Defendant Henderson intends to adopt Defendant Seko’s Amended

Motion.    [Dkt. 372.]   In her Amended Motion, Defendant Seko’s

counsel clarifies that he is seeking permission to provide Ms.

Seko with copies of certain non-victim, substantive witness

interview reports only.      [Id., ¶¶ 16-18.]     Ms. Seko appears to

be interested in obtaining copies of her alleged co-

conspirators’ interview reports in particular.          [Id., ¶ 17.]

            Here, Defendant’s counsel argues that Mr. Henderson is

in a particularly difficult position with respect to obtaining

copies of discovery materials, given that he is being detained

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in the Alexandria Detention Center (“the Detention Center”).

(Def. Mot. at 1.)      The Detention Center houses local, state, and

federal prisoners.     (Id.)    As of August 11, 2016, it housed

nearly 400 inmates.     (Id.)    Despite this high number of inmates,

the Detention Center has only three meeting rooms for attorneys

and their clients.     (Id.)    Moreover, visiting hours are limited

to three hours per evening, five days per week.          (Id.)   Given

the size of the inmate population, Defendant’s counsel has to

compete with other attorneys for meeting space.          (Id.)   When

counsel is able to secure a room, counsel claims that his visits

are limited to “watching defendant while he reads one document

at a time.”    (Id.)

            In its opposition, the Government argues that Part IV

of the discovery order allows Defendant’s counsel to disclose

the contents of Jencks Act and Giglio materials to Mr.

Henderson, so long as counsel does not provide him with copies.

(Gov. Mem. in Opp. [Dkt. 369] at 21.)         The Government claims

that this is a standard provision in the Eastern District of

Virginia, having been “routinely ordered in hundreds of cases.”

(Id. at 22.)    Furthermore, the Government argues that the

restriction clearly applies only to Jencks/Giglio materials

(i.e., interview reports) associated with the Government’s

witnesses for its case-in-chief.         (Id.)   The Government has

identified these reports as “interview summaries” in the

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discovery index, and has offered to answer any specific

questions that Defendant’s counsel may have about whether

particular documents should be included in the restriction on

providing Mr. Henderson copies.        (Id.)   At oral argument, the

Government also emphasized its concern that the witness

interview reports contain sensitive personal and financial

information.

           Although this Court understands the Government’s

concern that the witness interview reports may contain sensitive

materials, this Court also appreciates the unique challenges

presented by visiting clients at the Alexandria Detention

Center.   In order to ensure that counsel has sufficient time to

prepare for trial, this Court grants Defendant’s request to

permit Mr. Henderson to retain copies of non-victim, substantive

witness interview reports only.        This Court also orders Mr.

Henderson to keep these documents in his exclusive possession at

the Detention Center and to not share or discuss their contents

outside of meetings with his attorney.

                             IV.   Conclusion

           For the foregoing reasons, this Court grants

Defendant’s request to permit Mr. Henderson to retain copies of

the interview reports of certain non-victim, substantive

witnesses and orders Mr. Henderson to keep these documents in

his exclusive possession.       It also denies as moot Defendant’s

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request for a more particularized discovery log.           Finally, the

Court grants the parties’ request to exchange exhibit lists

fourteen (14) days before trial, should Defendant’s counsel

agree.

           An appropriate order shall issue.



                                                 /s/
December 20, 2016                         James C. Cacheris
Alexandria, Virginia              UNITED STATES DISTRICT COURT JUDGE




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